Case 3:18-cv-00090-NKM-JCH Document 74 Filed 07/18/22 Page 1 of 2 Pageid#: 437




                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                Charlottesville Division


 IRA D. SOCOL
                 Plaintiff,
 v.                                                  Civil Action No.: 3:18cv00090
                                                     Hon. Norman K. Moon
 ALBEMARLE COUNTY SCHOOL BOARD

          and

 MATTHEW S. HAAS, individually and as Superintendent
     of Albemarle County Public Schools,

                 Defendant.

                         ORDER OF DISMISSAL WITH PREJUDICE

          In accordance with the Agreed Stipulation of Dismissal with Prejudice filed by

 Plaintiff, Ira D. Socol (“Plaintiff”) and Defendant Matthew S. Haas (“Defendant”)and in

 accordance with Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the Court

 ORDERS, ADJUDGES, AND DECREES THAT: (1) all of Plaintiff’s claims and causes of

 action against Defendant and Albemarle County School Board in this action be, and are

 hereby, dismissed with prejudice; (2) this action be and is hereby, dismissed with prejudice

 in its entirety; and (3) Plaintiff and Defendant shall each bear their own attorneys’ fees and

 costs.

          THE COURT SO ORDERS.
Case 3:18-cv-00090-NKM-JCH Document 74 Filed 07/18/22 Page 2 of 2 Pageid#: 438




       Entered: July 18       , 2022


                                         Norman K. Moon
                                         Senior United States District Judge
